             Case 4:24-mj-00003-LRL Document 3 Filed 01/18/24 Page 1 of 1 PageID# 5
                                                                                                                     FILED
AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COUrIt                                           JAN     1 8   ● ■

                                                                  for the
                                                                                                        CLERK, U.S. DISTRICT COURT
                                                       Eastern District of Virginia                 L               NORFOLK. VA




                    United States of America                        )             Under Seal

                                   V.                               )
                                                                    )              Case No.: 4:24-mi-
                        FENGYUN SHI                                 )
                                                                    )
                                                                    )
                             Defendant(s)

                                                      CRIMINAL COMPLAINT


                     I, the complainant In this case, state that the following is true to tlie best of my knowledge and belief.

        On or about the date(s) of       January 5 and 6. 2024               in the Eastern District of Virginia, the defendant(s)
        violated:                                                              U—


                      Code Section^                                              Offense Description(s)
          49 U.S.C. §§46306^6307              Prohibited Operation of Unregistered UAS in Violation of National Defense Airspace
          18U.S.C. §§ 795 &796                Photographing Defense Installations and Use of Aircraft for Photographing the Same


        This criminal complaint is based on these facts: Please see attached Affidavit.

        ^ Continued on the attached sheet.



        REAOAND APPROVED:
                               1


        Peter Osyi
        Assistant United States Attorney

                                                                                                          2
                                                                                             Complainant's signature

                                                                                    Sara Shalowitz. Special Agent. FBI
                                                                                              Printed name and title




Sworn to before me and signed in my presence.


Date:                January 18, 2024
                                                                                                judge's signature

City and state:      Norfolk, Virginia                                      The Honorable Robert J. Krask, U.S. Magistrate Judge
                                                                                              Printed name and title
